                 Case 2:17-cr-00023-DAD Document 92 Filed 11/26/18 Page 1 of 2


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 4
     Attorney for CHARLES GOODMAN
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                  ) No. 17-cr-00023 TLN
 8
                     Plaintiff,                     )
 9                                                  ) STIPULATION AND ORDER
            v.                                      ) MODIFYING THE SCHEDULE
10                                                  ) FOR Mr. GOODMAN’S PRE-SENTENCE
                                                    ) REPORT FOR A NEW SENTENCING DATE
11
     CHARLES GOODMAN,                               ) OF JANUARY 10, 2019
12
                                                    )
                     Defendant.                     ) Judge: Hon. Troy L. Nunley
13   ================================)
14
            Defendant Charles Goodman is requesting a three-week continuance of his sentencing
15

16
     hearing, which is presently set for November 29, 2018. AUSA Jason Hitt, on behalf of the United

17   States Attorney’s Office, and USPO Lynda Moore, on behalf of the United States Probation Office,
18   have no objection to the requested continuance. The parties hereby stipulate to re-set the schedule for
19
     the pre-sentence report as follows:
20
            Judgment and Sentencing Date: January 10, 2019
21
            Reply, or Statement of Non-opposition: January 3, 2019
22

23          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: December 27,
24          2018
25
            The Presentence Report shall be filed with the Court and disclosed to the parties no
26          later than: December 20, 2018

27          Counsel’s written objections to the Presentence Report shall be delivered to the
            Probation Officer and opposing counsel no later than: December 13, 2018
28




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              Case 2:17-cr-00023-DAD Document 92 Filed 11/26/18 Page 2 of 2


 1         The proposed Presentence Report shall be disclosed to counsel no later than:
           November 29, 2018
 2

 3
     Dated: November 21, 2018                           Respectfully submitted,
 4
                                                        /s/ Michael D. Long
 5
                                                        MICHAEL D. LONG
 6                                                      Attorney for Charles Goodman

 7
     Dated: November 21, 2018                           McGREGOR SCOTT
 8
                                                        United States Attorney
 9
                                                        /s/ Jason Hitt
10                                                      JASON HITT
11
                                                        Assistant U.S. Attorney

12                                              ORDER
13         GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
14
           The Court hereby orders that the schedule for Mr. Goodman’s pre-sentence report is
15   amended as follows:
16
           Judgment and Sentencing Date: January 10, 2019 at 9:30 A.M.
17

18
           Reply, or Statement of Non-opposition: January 3, 2019

19         Motion for Correction of the Presentence Report shall be filed with the Court and
           served on the Probation Officer and opposing counsel no later than: December 27,
20         2018
21
           The Presentence Report shall be filed with the Court and disclosed to the parties no
22         later than: December 20, 2018

23         Counsel’s written objections to the Presentence Report shall be delivered to the
24
           Probation Officer and opposing counsel no later than: December 13, 2018

25         The proposed Presentence Report shall be disclosed to counsel no later than:
           November 29, 2018
26
     Dated: November 26, 2018
27

28

                                                     Troy L. Nunley
                                                     United States District Judge
                                                  -2-
